          Case 1:04-cv-05278-OWW-DLB Document 222 Filed 07/24/06 Page 1 of 2


 1   Rick W. Jarvis, SBN: 154479
     Benjamin P. Fay, SBN: 178856
 2   JARVIS, FAY & DOPORTO, LLP
     475 14th Street, Suite 260
 3   Oakland, California 94612
     Telephone: (510) 238-1400
 4   Facsimile: (510) 238-1404

 5   Attorneys for Defendants
     CITY OF TURLOCK and TURLOCK CITY COUNCIL
 6

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   WAL-MART STORES, INC., a Delaware                      CASE NO.: CIV-F-04-5278 OWW DLB
     corporation, and WAL-MART REAL
12   ESTATE BUSINESS TRUST, a Delaware                      JUDGMENT
     statutory trust,
13
                    Plaintiffs,
14
     v.
15
     CITY OF TURLOCK, TURLOCK CITY
16   COUNCIL, and DOES 1 through 10,
     inclusive,
17
                 Defendants.
18   ___________________________________/

19

20          Plaintiffs Wal-Mart Stores, Inc. and Wal-Mart Real Estate Business Trust (collectively, “Wal-

21   Mart”) filed a “Complaint for Damages, Declaratory and Injunctive Relief; Demand for Jury Trial” on

22   February 11, 2004. The Complaint alleged seven claims for relief against the defendants City of Turlock

23   and Turlock City Council (collectively, “the City”).

24          On March 29, 2005, the City moved for summary judgment on the complaint, including all

25   claims for relief contained within it. The motion was fully briefed by the parties and oral argument was

26   heard on February 6, 2006.

27          On July 3, 2006, this Court issued an Order Granting Defendants’ Motion for Summary

28   Judgment. For the reasons set forth in that order, this Court hereby enters Judgment in favor of the City

                                                            1
     Judgment                                                                        [CIV-F-04-5278 OW W DLB]
            Case 1:04-cv-05278-OWW-DLB Document 222 Filed 07/24/06 Page 2 of 2


 1   and against Wal-Mart on the Complaint and on every claim for relief set forth within it.

 2            As the prevailing party, the City is awarded its recoverable costs.

 3            IT IS SO ORDERED.

 4

 5   Dated:____July 19, 2006______                          _/s/ OLIVER W. WANGER____________
                                                            OLIVER W. WANGER
 6                                                          United States District Judge

 7

 8

 9

10   G:\docs\GLucas\Orders To Be Signed\04cv5278.jgm.wpd


11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                           2
     Judgment                                                                        [CIV-F-04-5278 OW W DLB]
